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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS
                   CRIMINAL ACTION NO. 19-10357-RGS

                       UNITED STATES OF AMERICA
                                       v.
                                DAVID JOHN

                   MEMORANDUM AND ORDER ON
               DEFENDANT’S RESTITUTION OBLIGATIONS

                               December 1, 2021

STEARNS, D.J.
     The issue of restitution was reserved at defendant’s sentencing over a
narrowly-framed issue. The government requests that a restitution order
be entered under the Mandatory Victim Restitution Act of 1996, 18 U.S.C. §
3663A(c)(1)(A)(ii), in the amount of $177,483. 1 The dispute arose over the
defendant’s claim that because of the Settlement Agreement that he and his
wife reached with the victims (the Mariposa Group) on December 5, 2017,
whereby the entire proceeds of the sale of their Nantucket, Massachusetts
home ($182,000) was conveyed to the victims, the obligation should be


     1  The government candidly states that while the victims claim losses of
more than $2 million, the requested amount of $177,483 is the amount that,
given the offenses for which the defendant was convicted, conforms with the
directives of the U.S. Sentencing Guidelines and “most readily apparent and
indisputable from the documents.” Gov’t Mem. at 1. Defendant John does
not dispute the figure.
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deemed satisfied. Moreover, defendant contends that the requested order
would constitute an impermissible double recovery under 18 U.S.C. §
3664(j)(2).     Def.’s Mem. at 3-4.    See also United States v. Parsons, 141
F.3d 386, 393 (1st Cir. 1998).
      The government opposed the theory of double recovery on the
representation of the Mariposa Group victims that the sum paid under the
Settlement Agreement “went entirely to the payment of the [Mariposa
Groups] attorneys’ fees,” and therefore did not include the $177,483 in
provable embezzled funds. Gov’t Mem. at 4.
      At the time of the hearing and the filing of its memorandum, the
government did not have the benefit of the Settlement Agreement itself
(which was entered under strict non-disclosure provisions). The court has
since, with the aid of the Probation Office, obtained a copy of the original
Agreement.       It is clear from the face of the Agreement that it was not
restricted to the payment of attorney’s fees, 2 but rather contained a general
release of the defendant (and his wife) from “all claims, disputes, demands,
arbitrations, liabilities, actions, obligations, debts, damages, costs, expenses
and attorneys’ fees, whether legal or equitable . . . .” Agreement ¶ 3(c).

      2 As defendant points out, Stephen LaRosa, the civil attorney for the
Mariposa Group, reported to the Probation Office that the “$182,000 was
paid to Mariposa directly” and that the “settlement funds were not
specifically designated for attorney’s fees.” Def.’s Mem. at 6, 9; PSR at 30.
I note that the Probation Office deferred to the court the issue of whether
defendant should receive credit for the $182,000 as a deduction from any
restitution order.
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Considering the terms of the Settlement Agreement, I conclude that any
further order of restitution would in fact constitute a double recovery. See
United States v. Edwards, 19 F. Supp. 3d 366, 370 (D. Mass. 2014).
      As a further ground for declining to order any additional payment of
restitution, I note that a court is to “consider . . . the financial resources of
the defendant, the financial needs and earning abilities of the defendant and
the defendant’s dependents, and such other factors as the court deems
appropriate.” 18 U.S.C. § 3663(a)(1)(B)(i)(II). Given my familiarity with
the record in this long-litigated case, as well as the Probation Office’s
assessment in the PSR, I make a specific finding that the defendant (who is
serving a committed sentence and is represented by a court-appointed
attorney) does not have the financial means, now or in the reasonable future,
to make any further payments. See United States v. Savoie, 985 F.2d 612,
618 (1st Cir 1993).
                                    ORDER
      The court orders restitution in the amount of $177,483, an amount
deemed satisfied by the payment made under the Settlement Agreement
entered December 5, 2017.
                                     SO ORDERED.
                                     /s/ Richard G. Stearns
                                     __________________________
                                     UNITED STATES DISTRICT JUDGE



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